                                                                        CLERK'S OFFIGE U.S.DIST.K URT
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                   IN TH E U N ITE D STATE S D ISTRICT COU RT
                  FO R T H E W EST ERN D ISTRICT O F W RGIN IA
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                               RO AN O U D IVISIO N                          BYJ    G.               ,   CL RK
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 JOSEPH LOUIS PADUAN O,                  )       CASE N O .7:17CV 00540
        Petitionery                      )
                                         )
 V.                                      )       FIN AL O RD ER
                                         )
 H ARO LD W .CT,ARKR,                    )       By:H on.M ichaelF.U rbansld
        Respondent.                      )       ChiefUnited StatesDistrictJudge

        In accordancewith theaccom panying m em orandum opinion,itishezeby

                            ADJUDGED AN D O RDERED
  thatthemodontoreconsider(ECF No.20)isDENIED,and theclerkshallSTR-
                                                                  IKR this
  action from theactive docketofthe couzt.

        Further,fincling thatpetitionerhasfailed to m ake asubstanéalshowing ofthe denial

  ofaconstitazéonalrightasrequiredby28U.S.C.j2253(c)(1),acertificateofappealabilityis
  D E N IE D .


        ENTER:ThisJ/V dayofNovember,2018.

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